UNITED STATES DEPARTMENT OF JUSTICE
OFFICE OF THE UNITED STATES TRUSTEE
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                           IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

IN RE:                                                      §
                                                            §
BUFFETS, LLC, ET AL.,                                       §           CASE NO. 16-50557-RBK-11
                                                            §
                                                            §           (JOINTLY ADMINISTERED UNDER
                                                            §           CASE NO. 16-50557-RBK-11)
                                                            §
DEBTORS.                                                    §



   APPELLANT UNITED STATES TRUSTEE’S STATEMENT OF THE ISSUES AND
            DESIGNATION OF ITEMS FOR RECORD ON APPEAL


          Now comes Henry G. Hobbs, Jr., Acting United States Trustee for Region 7, by and

through the undersigned counsel and under Fed. R. Bankr. P. 8009(a)(1) hereby submits his

statement of the issues and items to be included in the record on appeal.



          Issues on appeal:

     1. Did the bankruptcy court err when it held that the debtors are required by 28 U.S.C.

          § 1930(a)(6) to pay only $30,000, instead of $250,000, in fees for each quarter of 2018?

Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 1    of 15
     2. Did the bankruptcy court err when it ruled that the 2017 quarterly fee legislation could not

          be applied to the debtors?



     3. Did the bankruptcy court err when it ruled that awarding fees under 28 U.S.C.

          § 1930(a)(6)(B) for any of the first three quarters of 2018 would violate the Uniformity

          Clause of Article I of the Constitution?



     4. Did the bankruptcy court err when it ruled that the government’s reading of the 2017

          quarterly fee legislation impermissibly operated in a retroactive way?



     5. Did the bankruptcy court err when it ruled that applying the 2017 quarterly fee legislation

          as the government interprets it violated due process?



     6. Did the bankruptcy court err by reversing itself on grounds the debtors could have argued

          prior to the court’s initial ruling on the debtors’ motion to determine fees but instead

          asserted for the first time in a supplemental brief in support of their motion for

          reconsideration, in response to issues the court raised sua sponte?




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 2    of 15
          Items to be included in the record on appeal:



                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item           File or                                                                               Docket
  Number        Entry Date                                      Style or Description                    Entry

      1             N/A         Docket Sheet for Case No 16-50557-RBK-11                                 N/A


      2         03/07/2016      Chapter 11 Voluntary Petition                                             1


      3         03/07/2016      Debtor’s Emergency Motion For Order Authorizing Joint Administration      2
                                Pursuant to Bankruptcy Rule 1015 and Local Rule 1015


      4         03/07/2016      Declaration Of Peter Donbavand In Support of Chapter 11 Petitions and    23
                                First Day Motions


      5         03/11/2016      Order Authorizing Joint Administration Pursuant To Bankruptcy Rule       112
                                1015 and Local Rule 1015


      6         05/22/2016      Schedules                                                                479


      7         05/22/2016      Statement of Financial Affairs                                           480


      8                         Disclosure Statement For Debtors’ Joint Plan Of Reorganization Under
                09/30/2016                                                                              1113
                                Chapter 11 Of The Bankruptcy Code


      9         09/30/2016      Debtors’ Joint Plan Of Reorganization Under Chapter 11 Of The           1118
                                Bankruptcy Code


     10         02/24/2017      Amended Disclosure Statement For Debtors’ Joint Plan Of                 2243
                                Reorganization Under Chapter 11 Of The Bankruptcy Code


     11         02/24/2017      Debtors’ Amended Joint Plan Of Reorganization Under Chapter 11 Of       2244
                                The Bankruptcy Code




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 3    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item           File or                                                                              Docket
  Number        Entry Date                                      Style or Description                   Entry

     12         03/21/2017      Notice Of Filing Of Supplement To Debtors’ Amended Joint Plan Of       2422
                                Reorganization Under Chapter 11 Of The Bankruptcy Code


     13         03/31/2017      Notice Of Filing Of Amended Supplement To Debtors’ Amended Joint       2485
                                Plan Of Reorganization Under Chapter 11 Of The Bankruptcy Code


     14                         Debtors’ Notice Of Filing Proposed Changes To Amended Joint Plan Of
                03/31/2017                                                                             2487
                                Reorganization Under Chapter 11 Of The Bankruptcy Code


                                Declaration Of Peter Donbavand Pursuant To 28 U.S.C. § 1746 In
     15         04/03/2017      Support Of Confirmation Of Debtors’ Amended Joint Plan Of              2492
                                Reorganization Under Chapter 11 Of The Bankruptcy Code


                                Debtors’ Second Amended Joint Plan Of Reorganization Under Chapter
     16         04/27/2017                                                                             2573
                                11 Of The Bankruptcy Code


                                Findings Of Fact, Conclusions Of Law, And Order Under Section 1129
                                Of The Bankruptcy Code And Rule 3020 Of The Bankruptcy Rules
     17         04/27/2017                                                                             2576
                                Confirming Debtors’ Second Amended Joint Plan Of Reorganization
                                Under Chapter 11 Of The Bankruptcy Code


                                Notice Of (A) Entry Of Order Confirming Debtors’ Second Amended
                                Joint Plan Of Reorganization Under Chapter 11 Of The Bankruptcy
     18         05/18/2017      Code, (B) Occurrence Of The Effective Date Of The Plan, (C) Deadline   2630
                                To File Fee Claims, (D) Deadline To File Administrative Claims, And
                                (E) Bar Date For Rejected Executory Contracts


                                Notice Of Filing Of Second Amended Supplement To The Debtors’ Joint
     19         06/06/2017                                                                             2661
                                Plan Of Reorganization Under Chapter 11 Of The Bankruptcy Code


     20         07/21/2017      Chapter 11 Post-Confirmation Report For The Quarter Ending June 2017   2753




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 4    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item           File or                                                                                Docket
  Number        Entry Date                                      Style or Description                     Entry

                                Order Granting Fourth and Final Fee Application of Bridgeport
                                Consulting, LLC, As Chief Restructuring Office and Financial Advisor
     21         08/02/2017      To The Debtors For Professional Services Rendered And Actual And         2769
                                Necessary Expenses Incurred From March 7, 2016 Through May 18,
                                2017


                                Agreed Order Granting, In Part, Fourth And Final Application of
                                Akerman LLP As Counsel To Debtors, For Allowance Of Compensation
     22         08/30/2017      For Services Rendered And Reimbursement of Expenses Incurred For         2798
                                The Fourth Interim Period From January 1, 2017 Through May 18, 2017
                                And The Final Period From March 7, 2016 Through May 18, 2017


                                Order Granting In Part Final Application Of Greenberg Traurig, LLP For
                                Compensation And Reimbursement Of Expenses As Counsel To The
     23         09/18/2017                                                                               2825
                                Official Committee Of Unsecured Creditors For The Period of March 22,
                                2016 Through May 18, 2017


                                Chapter 11 Post-Confirmation Report For The Quarter Ending
     24         10/20/2017                                                                               2956
                                September 2017


                                Chapter 11 Post-Confirmation Report For The Quarter Ending December
     25         01/19/2018                                                                               3327
                                2017


                                Chapter 11 Post-Confirmation Report For The Quarter Ending March
     26         04/20/2018                                                                               3708
                                2018


                                Reorganized Debtors’ Motion To Determine Extent Of Liability For Post-
     27         07/12/2018      Confirmation Quarterly Fees Payable To The United States Trustee         3797
                                Pursuant To 28 U.S.C. § 1930(a)(6)


                                Reorganized Debtors’ Motion For Final Decree Or, In The Alternative,
     28         07/12/2018                                                                               3798
                                To Administratively Close Cases


     29         07/20/2018      Chapter 11 Post-Confirmation Report For The Quarter Ending June 2018     3809




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 5    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item           File or                                                                                   Docket
  Number        Entry Date                                      Style or Description                        Entry

                                Unsecured Creditors’ Trustee’s Objection To Reorganized Debtors’
     30         07/27/2018      Motion For Final Decree Or, In The Alternative, To Administratively         3814
                                Close Cases


                                Limited Objection And Reservation Of Rights Of Pike Park Associates
     31         07/30/2018      LLLP Ad Pike Park Venture, LLC To Reorganized Debtors’ Motion For           3817
                                Final Decree Or, In the Alternative, To Administratively Close Cases


                                Objection Of The United States Trustee To Reorganized Debtors’ Motion
                                To Determine Extent Of Liability For Post-Confirmation Quarterly Fees
     32         08/02/2018                                                                                  3821
                                Payable To The United States Trustee Pursuant To 28 U.S.C. §
                                1930(a)(6)


                                Objection Of The United States Trustee To Reorganized Debtors’ Motion
     33         08/02/2018      For Final Decree Or, In The Alternative, To Administratively Close          3822
                                Cases


                                Notice Of Hearing On [3797] Reorganized Debtors’ Motion To
                                Determine Extent Of Liability For Post-Confirmation Quarterly Fees
     34         08/06/2018      Payable To The United States Trustee Pursuant To 28 U.S.C. §                3823
                                1930(a)(6) And [3798] Reorganized Debtors’ Motion For Final Decree
                                Or, In The Alternative, To Administratively Close Cases


                                Response of Gallagher Basset Services, Inc. to Reorganized Debtors’
     35         08/16/2018      Motion For Final Decree or, in the Alternative, to Administratively Close   3836
                                Cases


                                Reorganized Debtors’ Reply To Objection Of The United States Trustee
     36         08/16/2018      To Reorganized Debtors’ Motion For Final Decree Or, In The                  3838
                                Alternative, To Administratively Close Cases


                                Reorganized Debtors’ Reply To Objection Of The United States Trustee
                                To Reorganized Debtors’ Motion To Determine Extent Of Liability For
     37         08/16/2018                                                                                  3839
                                Post-Confirmation Quarterly Fees Payable To The United States Trustee
                                Pursuant To 28 U.S.C. § 1930(a)(6)




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 6    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item           File or                                                                                Docket
  Number        Entry Date                                      Style or Description                     Entry

                                Reorganized Debtors’ Witness And Exhibit List For Hearing On August
     38         08/20/2018                                                                               3846
                                23, 2018


                                U.S. Trustee’s Witness And Exhibit List For Hearings On Reorganized
                                Debtors’ Motion To Determine Extent Of Liability For Post-
                                Confirmation Quarterly Fees Payable To The United States Trustee
     39         08/20/2018                                                                               3847
                                Pursuant To 28 U.S.C. § 1930(a)(6) and Reorganized Debtors’ Motion
                                For Final Decree Or, In The Alternative, To Administratively Close
                                Cases


     40         08/22/2018      Reorganized Debtors’ Proposed Hearing Agenda For August 23, 2018         3850


     41         08/23/2018      Exhibit Index and Witness List For Hearing Held on August 23, 2018       3862


                                Exhibit 1 – Chapter 11 Post-Confirmation Report for the Quarter Ending
     42         08/23/2018                                                                                N/A
                                March 2018 (Docket No. 3708)


                                Exhibit 2 - Chapter 11 Post-Confirmation Report for the Quarter Ending
     43         08/23/2018                                                                                N/A
                                June 2018 (Docket No. 3809)


                                Exhibit 3 – Amended Disclosure Statement for Debtors’ Amended Joint
     44         08/23/2018      Plan of Reorganization Under Chapter 11 Of The Bankruptcy Code            N/A
                                (Docket No. 2243)


                                Exhibit 4 -Findings Of Fact, Conclusions Of Law, And Order Under
                                Section 1129 Of The Bankruptcy Code And Rule 3020 Of The
     45         08/23/2018      Bankruptcy Rules Confirming Debtors’ Second Amended Joint Plan Of         N/A
                                Reorganization Under Chapter 11 Of The Bankruptcy Code (Docket No.
                                2576)


     46         08/23/2018      Exhibit G-1 – U. S. Trustee Fee Schedule                                  N/A


                                Exhibit G-2 – Post Confirmation Report for the 2nd Quarter of 2017
     47         08/23/2018                                                                                N/A
                                (Docket No. 2753)




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 7    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item           File or                                                                              Docket
  Number        Entry Date                                      Style or Description                   Entry

                                Exhibit G-3 – Post Confirmation Report for the 3rd Quarter of 2017
     48         08/23/2018                                                                              N/A
                                (Docket No. 2956)


                                Exhibit G-4 – Post Confirmation Report for the 4th Quarter of 2017
     49         08/23/2018                                                                              N/A
                                (Docket No. 3327)


                                Exhibit G-5 – Post Confirmation Report for the 1st Quarter of 2018
     50         08/23/2018                                                                              N/A
                                (Docket No. 3708)


                                Exhibit G-6 – Post Confirmation Report for the 2nd Quarter of 2018
     51         08/23/2018                                                                              N/A
                                (Docket No. 3809)


                                Exhibit G-7 – Excerpt From Findings Of Fact, Conclusions Of Law, And
                                Order Under Section 1129 Of The Bankruptcy Code And Rule 3020 Of
     52         08/23/2018      The Bankruptcy Rules Confirming Debtors’ Second Amended Joint Plan      N/A
                                Of Reorganization Under Chapter 11 Of The Bankruptcy Code (Docket
                                No. 2576)


     53         08/23/2018      Exhibit G-8 – U.S. Trustee Quarterly Fee Analysis                       N/A


                                Supplemental Brief Of The United States Trustee In Support Of
                                Objection To Reorganized Debtors’ Motion To Determine Extent Of
     54         08/30/2018                                                                             3868
                                Liability For Post-Confirmation Quarterly Fees Payable To The United
                                States Trustee Pursuant To 28 U.S.C. § 1930(a)(6) (Docket #3821)


                                Supplemental Brief Of Reorganized Debtors To Motion To Determine
     55         09/10/2018      Extent Of Liability For Post-Confirmation Quarterly Fees Payable To    3875
                                The United States Trustee Pursuant To 28 U.S.C. § 1930(a)(6)


                                Order Denying Reorganized Debtors’ Motion For Final Decree Or, In
     56         09/12/2018                                                                             3880
                                The Alternative, To Administratively Close Cases




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 8    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item           File or                                                                                  Docket
  Number        Entry Date                                      Style or Description                       Entry

                                United States Trustee’s Motion To (I) Strike Supplemental Brief Of
                                Reorganized Debtors’ To Motion To Determine Extent Of Liability For
     57         09/12/2018      Post-Confirmation Quarterly Fees Payable To United States Trustee          3881
                                Pursuant to 28 U.S.C. § 1930(a)(6), Or, Alternatively, (II) Extend Time
                                To File A Response To Reorganized Debtors’ Supplemental Brief


                                Reorganized Debtors’ Objection To United States Trustee’s Motion To
                                (I) Strike Supplemental Brief Of Reorganized Debtors’ To Motion To
                                Determine Extent Of Liability For Post-Confirmation Quarterly Fees
     58         09/13/2018                                                                                 3884
                                Payable To United States Trustee Pursuant to 28 U.S.C. § 1930(a)(6), Or,
                                Alternatively, (II) Extend Time To File A Response To Reorganized
                                Debtors’ Supplemental Brief


     59         09/14/2018      Transcript Regarding Hearing Held 9/13/18                                   3890


                                Order Dismissing Motion As Moot [Re 3881 United States Trustee’s
                                Motion To (I) Strike Supplemental Brief Of Reorganized Debtors’ To
                                Motion To Determine Extent Of Liability For Post-Confirmation
     60         09/14/2018                                                                                 3891
                                Quarterly Fees Payable To United States Trustee Pursuant to 28 U.S.C. §
                                1930(a)(6), Or, Alternatively, (II) Extend Time To File A Response To
                                Reorganized Debtors’ Supplemental Brief]


                                Order Denying Reorganized Debtors’ Motion To Determine Extent Of
     61         09/14/2018      Liability For Post-Confirmation Quarterly Fees Payable To The United       3893
                                States Trustee Pursuant To 28 U.S.C. § 1930(a)(6)


     62         09/20/2018      Transcript Regarding Hearing Held 9/13/18                                   3901


                                Reorganized Debtors’ Proposed Hearing Agenda For September 26, 2018
     63         09/25/2018                                                                                 3908
                                Hearing at 2:00 p.m.


                                Court Public Entry: JUDGE KING MADE ANNOUNCEMENT ON
                                THE RECODING REGARDING ANOTHER CASE WITH SOME
     64         09/26/2018                                                                                  N/A
                                ISSUE REGARDING U.S. TRUSTEE FEES THEY MIGHT WANT TO
                                REVIEW (Entered: 03/05/2019)




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal             Page 9    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item          File or                                                                                 Docket
  Number       Entry Date                                       Style or Description                     Entry

                                Reorganized Debtors’ Motion For Reconsideration Of Order Denying
                                Reorganized Debtors’ Motion To Determine Extent Of Liability For Post-
     65         09/28/2018                                                                               3914
                                Confirmation Quarterly Fees Payable To The United States Trustee
                                Pursuant To 28 U.S.C. § 1930(a)(6) (Relates to ECF No. 3893)


                                Reorganized Debtors’ Notice of Constitutional Question Under Fed. R.
     66         09/28/2018                                                                               3915
                                Civ. P. 5.1


                                Objection Of The United States Trustee To Reorganized Debtors’ Motion
                                For Reconsideration Of Order Denying Reorganized Debtors’ Motion To
     67         10/04/2018      Determine Extent Of Liability For Post-Confirmation Quarterly Fees       3927
                                Payable To The United States Trustee Pursuant To 28 U.S.C. §
                                1930(a)(6)


                                Reorganized Debtors’ Reply To Objection Of The United States Trustee
                                To Reorganized Debtors’ Motion For Reconsideration Of Order Denying
     68         10/11/2018      Reorganized Debtors’ Motion To Determine Extent Of Liability For Post-   3948
                                Confirmation Quarterly Fees Payable To The United States Trustee
                                Pursuant To 28 U.S.C. § 1930(a)(6) (Relates to ECF No. 3927)


                                Court Notice And Certification Of Constitutional Question Under 28
                                U.S.C. § 2403 And Fed. R. Civ. P. 5.1 [Docket Entry: Order Regarding
                                Motion For Reconsideration Of Order Denying Reorganized Debtors’
     69         10/19/2018                                                                               3961
                                Motion To Determine Extent Of Liability For Post-Confirmation
                                Quarterly Fees Payable To The United States Trustee Pursuant To 28
                                U.S.C. § 1930(a)(6)]


                                Chapter 11 Post-Confirmation Report For The Quarter Ending September
     70         10/19/2018                                                                               3962
                                2018


                                United States Trustee’s Response To This Court’s Notice And
     71         10/31/2018      Certification Of Constitutional Questions Under 28 U.S.C. § 2403 And     3969
                                Fed. R. Civ. P. 5.1


                                Order Granting Request To File Brief In Response To Constitutional
     72         11/07/2018                                                                               3984
                                Challenges




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal            Page 10    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item          File or                                                                                 Docket
  Number       Entry Date                                       Style or Description                     Entry

                                United States Trustee’s Motion To Vacate The Court’s November 7,
                                2018 Order Or In The Alternative, To Adjust The Briefing Schedule So
     73         11/09/2018                                                                               3987
                                The Government Can Meaningfully Address The Debtors’ Attempt To
                                Invalidate A Federal Statute


                                Order Granting Motion, In Part [Re 3987 United States Trustee’s Motion
                                To Vacate The Court’s November 7, 2018 Order Or In The Alternative,
     74         11/16/2018                                                                               4008
                                To Adjust The Briefing Schedule So The Government Can Meaningfully
                                Address The Debtors’ Attempt To Invalidate A Federal Statute]


     75         11/17/2018      Transcript Regarding Hearing Held on 8/23/18                              4009


                                Reorganized Debtors’ Memorandum Of Law In Support Of Its Motion
                                To Determine Extent Of Liability For Post-Confirmation Quarterly Fees
     76         12/07/2018                                                                               4042
                                Payable To The United States Trustee Pursuant To 28 U.S.C. §
                                1930(a)(6)


                                United States Trustee’s Supplemental Memorandum Of Law In
                                Opposition To Debtors’ Motion To Determine Extent Of Liability For
     77         12/21/2018                                                                               4060
                                Post-Confirmation Quarterly Fees Payable To The United States Trustee
                                Pursuant To 28 U.S.C. § 1930(a)(6)


                                Chapter 11 Post-Confirmation Report For The Quarter Ending December
     78         01/17/2019                                                                               4147
                                2018


     79         02/08/2019      Judge’s Opinion                                                          4209


                                Order Granting Motion For Reconsideration Of Order Denying
                                Reorganized Debtors’ Motion To Determine Extent Of Liability For Post-
     80         02/08/2019                                                                               4210
                                Confirmation Quarterly Fees Payable To The United States Trustee
                                Pursuant To 28 U.S.C. § 1930(a)(6)


                                Notice of Appeal [Re: 4209 Judge’s Opinion and 4210 Order Granting
                                Motion For Reconsideration Of Order Denying Reorganized Debtors’
     81         02/21/2019      Motion To Determine Extent Of Liability For Post-Confirmation            4227
                                Quarterly Fees Payable To The United States Trustee Pursuant To 28
                                U.S.C. § 1930(a)(6)]


Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal            Page 11    of 15
                       Items Designated from In re Buffets, LLC, Case No. 16-50557-RBK-11
   Item          File or                                                                               Docket
  Number       Entry Date                                       Style or Description                   Entry

     82         03/06/2019      Transcript Request by Jim Rose [re: Hearings on September 26, 2018]     4244


     83             N/A         Transcript of Hearings on September 26, 2018 [Requested]                N/A




                                  Items Designated from In re Hometown Buffet, Inc.,
                                             Case No. 16-50558-RBK-11
    Item           File or                                                                            Docket
   Number        Entry Date                                 Style or Description                      Entry

      84              N/A         Docket Sheet For Case No. 16-50558-RBK-11                            N/A


      85          03/07/2016      Voluntary Petition Under Chapter 11                                   1


      86          05/22/2016      Schedules                                                            12


      87          05/22/2016      Statement of Financial Affairs                                       13



            Items Designated from In re OCB Restaurant Company, LLC, Case No. 16-50559-RBK-11
    Item           File or                                                                            Docket
   Number        Entry Date                                 Style or Description                      Entry

      88              N/A         Docket Sheet For Case No. 16-50559-RBK-11                            N/A


      89          03/07/2016      Voluntary Petition Under Chapter 11                                   1


      90          05/22/2016      Schedules                                                             9


      91          05/22/2016      Statement of Financial Affairs                                        10




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal            Page 12    of 15
                  Items Designated from In re OCB Purchasing Co., Case No. 16-50561-RBK-11
    Item           File or                                                                       Docket
   Number        Entry Date                                 Style or Description                 Entry

      92              N/A         Docket Sheet For Case No. 16-50561-RBK-11                        N/A


      93          03/07/2016      Voluntary Petition Under Chapter 11                               1


      94          05/22/2016      Schedules                                                        12


      95          05/22/2016      Statement of Financial Affairs                                   13




            Items Designated from In re Ryan’s Restaurant Group, LLC, Case No. 16-50562-RBK-11
    Item           File or                                                                       Docket
   Number        Entry Date                                 Style or Description                 Entry

      96              N/A         Docket Sheet For Case No. 16-50562-BK-11                         N/A


      97          03/07/2016      Voluntary Petition Under Chapter 11                               1


      98          05/22/2016      Schedules                                                        10


      99          05/22/2016      Statement of Financial Affairs                                   11




            Items Designated from In re Fire Mountain Restaurants, LLC, Case No. 16-50563-RBK-11
    Item           File or                                                                       Docket
   Number        Entry Date                                 Style or Description                 Entry

      100             N/A         Docket Sheet For Case No. 16-50563-RBK-11                        N/A



Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal            Page 13    of 15
      101         03/07/2016      Voluntary Petition Under Chapter 11                            1


      102         05/22/2016      Schedules                                                      10


      103         05/22/2016      Statement of Financial Affairs                                 11




                     Items Designated from In re Tahoe Joe’s, Inc., Case No. 16-50564-RBK-11
    Item           File or                                                                     Docket
   Number        Entry Date                                 Style or Description               Entry

      104             N/A         Docket Sheet For Case No. 16-50564-RBK-11                     N/A


      105         03/07/2016      Voluntary Petition Under Chapter 11                            1


      106         05/22/2016      Schedules                                                      10


      107         05/22/2016      Statement of Financial Affairs                                 11




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal            Page 14    of 15
DATED: March 7, 2019                                       Respectfully submitted,

                                                           HENRY G. HOBBS, JR.
                                                           ACTING UNITED STATES TRUSTEE
                                                           REGION 7
                                                           Southern and Western Districts of Texas


                                                           By:          /s/ James W. Rose, Jr.
                                                                          JAMES W. ROSE, JR.
                                                                          TRIAL ATTORNEY
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                                                                          San Antonio, Texas 78205
                                                                          (210) 472-4640
                                                                          (210) 472-4649 Fax
                                                                          Email: James.Rose@usdoj.gov



                                            CERTIFICATE OF SERVICE

        I hereby certify that a true and correct copy of the foregoing pleading was served upon
the party set forth below via United States Mail, first class, postage prepaid and/or by electronic
means for all Pacer system participants on the 7th day of March, 2019.

                                                                          /s/ James W. Rose, Jr.
                                                                         James W. Rose, Jr.



Reorganized Debtors’ Counsel:

David W. Parham, Esq.
Akerman LLP
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Dallas, TX 75201




Appellant United States Trustee’s Statement Of The Issues And
Designation of Items for Record on Appeal            Page 15    of 15
